 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

          Western District of Washington

 Case number (If known):                           Chapter you are filing under:
                                                   ✔
                                                   ❑       Chapter 7
                                                   ❑       Chapter 11
                                                   ❑
                                                                                                                                              ❑ Check if this is an
                                                           Chapter 12
                                                   ❑       Chapter 13
                                                                                                                                                 amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                              12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name
                                               Bruce                                                           Traci
       Write the name that is on your         First name                                                      First name
       government-issued picture               Warren                                                          Lee
       identification (for example, your      Middle name                                                     Middle name
       driver’s license or passport).
                                               Solly                                                           Tanner
       Bring your picture identification      Last name                                                       Last name
       to your meeting with the trustee.
                                              Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have
       used in the last 8 years               First name                                                      First name

       Include your married or maiden
       names and any assumed, trade           Middle name                                                     Middle name
       names and doing business as
       names.
                                              Last name                                                       Last name
       Do NOT list the name of any
       separate legal entity such as a
       corporation, partnership, or LLC       Business name (if applicable)                                   Business name (if applicable)
       that is not filing this petition.
                                              Business name (if applicable)                                   Business name (if applicable)




  3.   Only the last 4 digits of your
                                              xxx - xx - 6           1    6    3                              xxx - xx - 7           8    0     7
       Social Security number or
       federal Individual Taxpayer            OR                                                              OR
       Identification number
                                              9xx - xx -                                                      9xx - xx -
       (ITIN)




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                                page 1
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 Debtor 1            Bruce               Warren                      Solly
 Debtor 2            Traci               Lee                         Tanner                                         Case number (if known)
                     First Name          Middle Name                 Last Name


                                          About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):


  4.   Your Employer Identification
                                                      -                                                               -
       Number (EIN), if any.              EIN                                                             EIN


                                                      -                                                               -
                                          EIN                                                             EIN




                                                                                                          If Debtor 2 lives at a different address:
  5.   Where you live
                                          1630 NW Nassau Ct
                                          Number            Street                                        Number           Street




                                          Poulsbo, WA 98370-9408
                                          City                                   State    ZIP Code        City                                  State     ZIP Code

                                          Kitsap
                                          County                                                          County

                                          If your mailing address is different from the one above,        If Debtor 2's mailing address is different from yours, fill
                                          fill it in here. Note that the court will send any notices to   it in here. Note that the court will send any notices to you
                                          you at this mailing address.                                    at this mailing address.


                                          Number            Street                                        Number           Street



                                          P.O. Box                                                        P.O. Box



                                          City                                   State    ZIP Code        City                                  State     ZIP Code




  6.   Why you are choosing this          Check one:                                                      Check one:
       district to file for bankruptcy
                                          ✔ Over the last 180 days before filing this petition, I
                                          ❑                                                               ✔ Over the last 180 days before filing this petition, I
                                                                                                          ❑
                                                 have lived in this district longer than in any other            have lived in this district longer than in any other
                                                 district.                                                       district.

                                          ❑ I have another reason. Explain.                               ❑ I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                          (See 28 U.S.C. § 1408)




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
                    Case 24-11396-CMA                  Doc 1          Filed 06/04/24            Ent. 06/04/24 10:28:28                  Pg. 2 of 70
 Debtor 1            Bruce             Warren                  Solly
 Debtor 2            Traci             Lee                     Tanner                                         Case number (if known)
                     First Name        Middle Name             Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           ✔
                                       ❑     Chapter 7
                                       ❑     Chapter 11
                                       ❑     Chapter 12
                                       ❑     Chapter 13



  8.   How you will pay the fee        ✔ I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                       ❑
                                           details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                           check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                           a credit card or check with a pre-printed address.

                                       ❑ I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                           to Pay The Filing Fee in Installments (Official Form 103A).

                                       ❑ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                           judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                           official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                           choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                           103B) and file it with your petition.




  9.   Have you filed for bankruptcy   ✔ No.
                                       ❑
                                       ❑ Yes. District
       within the last 8 years?
                                                                                                When                       Case number
                                                                                                       MM / DD / YYYY

                                                District                                        When                       Case number
                                                                                                       MM / DD / YYYY

                                                District                                        When                       Case number
                                                                                                       MM / DD / YYYY




  10. Are any bankruptcy cases         ❑ No.
       pending or being filed by a
       spouse who is not filing this
                                       ✔ Yes. Debtor Mad About Gardening, LLC
                                       ❑                                                                                Relationship to you Managing
       case with you, or by a                                                                                                                Member
       business partner, or by an               District Western District of                  When                      Case number, if known
       affiliate?                                          Washington                                MM / DD / YYYY
                                                Debtor Marketing Resource Group, Inc.                                   Relationship to you President and
                                                                                                                                             Minority
                                                District Western District of                  When                      Case number, if known
                                                                                                                                           Shareholder
                                                           Washington                                MM / DD / YYYY



  11. Do you rent your residence?      ✔ No. Go to line 12.
                                       ❑
                                       ❑ Yes. Has your landlord obtained an eviction judgment against you?
                                                 ❑ No. Go to line 12.
                                                 ❑ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                       as part of this bankruptcy petition.




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 3
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 Debtor 1            Bruce                 Warren                  Solly
 Debtor 2            Traci                 Lee                     Tanner                                         Case number (if known)
                     First Name            Middle Name             Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of         ✔ No. Go to Part 4.
                                           ❑
                                           ❑ Yes. Name and location of business
      any full- or part-time
      business?

      A sole proprietorship is a
      business you operate as an               Name of business, if any
      individual, and is not a separate
      legal entity such as a
      corporation, partnership, or LLC.        Number         Street

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this
      petition.
                                               City                                                State            ZIP Code

                                               Check the appropriate box to describe your business:

                                               ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               ❑ None of the above

  13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
      11 of the Bankruptcy Code,           proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business
      and are you a small business         debtor or you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement
      debtor or a debtor as defined        of operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
      by 11 U.S. C. § 1182(1)?             procedure in 11 U.S.C. § 1116(1)(B).

      For a definition of small business   ✔ No.
                                           ❑             I am not filing under Chapter 11.

                                           ❑ No.
      debtor, see 11 U.S.C. §
      101(51D).                                          I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                         Bankruptcy Code.

                                           ❑ Yes.        I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                         Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                           ❑ Yes.        I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy
                                                         Code, and I choose to proceed under Subchapter V of Chapter 11.




Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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 Debtor 1            Bruce              Warren                  Solly
 Debtor 2            Traci              Lee                     Tanner                                       Case number (if known)
                     First Name         Middle Name             Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any            ✔ No.
                                        ❑
                                        ❑ Yes.
      property that poses or is
      alleged to pose a threat of                 What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                  If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                  Where is the property?
                                                                              Number        Street




                                                                              City                                          State     ZIP Code




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                   page 5
                    Case 24-11396-CMA                 Doc 1      Filed 06/04/24           Ent. 06/04/24 10:28:28               Pg. 5 of 70
 Debtor 1            Bruce              Warren                  Solly
 Debtor 2            Traci              Lee                     Tanner                                         Case number (if known)
                     First Name         Middle Name             Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you        About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                            You must check one:
      receive a briefing about credit
      counseling before you file for    ✔ I received a briefing from an approved credit
                                        ❑                                                              ✔ I received a briefing from an approved credit
                                                                                                       ❑
      bankruptcy. You must truthfully       counseling agency within the 180 days before I                 counseling agency within the 180 days before I
      check one of the following            filed this bankruptcy petition, and I received a               filed this bankruptcy petition, and I received a
      choices. If you cannot do so,         certificate of completion.                                     certificate of completion.
      you are not eligible to file.
                                            Attach a copy of the certificate and the payment               Attach a copy of the certificate and the payment
      If you file anyway, the court         plan, if any, that you developed with the agency.              plan, if any, that you developed with the agency.
      can dismiss your case, you will
      lose whatever filing fee you      ❑ I received a briefing from an approved credit                ❑ I received a briefing from an approved credit
      paid, and your creditors can          counseling agency within the 180 days before I                 counseling agency within the 180 days before I
      begin collection activities           filed this bankruptcy petition, but I do not have a            filed this bankruptcy petition, but I do not have a
      again.                                certificate of completion.                                     certificate of completion.
                                            Within 14 days after you file this bankruptcy petition,        Within 14 days after you file this bankruptcy petition,
                                            you MUST file a copy of the certificate and payment            you MUST file a copy of the certificate and payment
                                            plan, if any.                                                  plan, if any.
                                        ❑ I certify that I asked for credit counseling services        ❑ I certify that I asked for credit counseling services
                                            from an approved agency, but was unable to                     from an approved agency, but was unable to
                                            obtain those services during the 7 days after I                obtain those services during the 7 days after I
                                            made my request, and exigent circumstances                     made my request, and exigent circumstances
                                            merit a 30-day temporary waiver of the                         merit a 30-day temporary waiver of the
                                            requirement.                                                   requirement.
                                            To ask for a 30-day temporary waiver of the                    To ask for a 30-day temporary waiver of the
                                            requirement, attach a separate sheet explaining                requirement, attach a separate sheet explaining
                                            what efforts you made to obtain the briefing, why you          what efforts you made to obtain the briefing, why you
                                            were unable to obtain it before you filed for                  were unable to obtain it before you filed for
                                            bankruptcy, and what exigent circumstances                     bankruptcy, and what exigent circumstances
                                            required you to file this case.                                required you to file this case.

                                             Your case may be dismissed if the court is                     Your case may be dismissed if the court is
                                             dissatisfied with your reasons for not receiving a             dissatisfied with your reasons for not receiving a
                                             briefing before you filed for bankruptcy.                      briefing before you filed for bankruptcy.

                                             If the court is satisfied with your reasons, you must          If the court is satisfied with your reasons, you must
                                             still receive a briefing within 30 days after you file.        still receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved agency,          You must file a certificate from the approved agency,
                                             along with a copy of the payment plan you                      along with a copy of the payment plan you
                                             developed, if any. If you do not do so, your case may          developed, if any. If you do not do so, your case may
                                             be dismissed.                                                  be dismissed.

                                             Any extension of the 30-day deadline is granted only           Any extension of the 30-day deadline is granted only
                                             for cause and is limited to a maximum of 15 days.              for cause and is limited to a maximum of 15 days.
                                        ❑ I am not required to receive a briefing about credit         ❑ I am not required to receive a briefing about credit
                                            counseling because of:                                         counseling because of:
                                            ❑ Incapacity. I have a mental illness or a mental              ❑ Incapacity. I have a mental illness or a mental
                                                               deficiency that makes me                                      deficiency that makes me
                                                               incapable of realizing or making                              incapable of realizing or making
                                                               rational decisions about finances.                            rational decisions about finances.
                                            ❑ Disability.      My physical disability causes me            ❑ Disability.     My physical disability causes me
                                                               to be unable to participate in a                              to be unable to participate in a
                                                               briefing in person, by phone, or                              briefing in person, by phone, or
                                                               through the internet, even after I                            through the internet, even after I
                                                               reasonably tried to do so.                                    reasonably tried to do so.
                                            ❑ Active duty. I am currently on active military               ❑ Active duty. I am currently on active military
                                                               duty in a military combat zone.                               duty in a military combat zone.

                                             If you believe you are not required to receive a               If you believe you are not required to receive a
                                             briefing about credit counseling, you must file a              briefing about credit counseling, you must file a
                                             motion for waiver of credit counseling with the court.         motion for waiver of credit counseling with the court.

Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 6
                    Case 24-11396-CMA                 Doc 1      Filed 06/04/24            Ent. 06/04/24 10:28:28                  Pg. 6 of 70
 Debtor 1            Bruce                 Warren                   Solly
 Debtor 2            Traci                 Lee                      Tanner                                           Case number (if known)
                     First Name            Middle Name              Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you               16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
      have?                                        “incurred by an individual primarily for a personal, family, or household purpose.”
                                                    ✔ No. Go to line 16b.
                                                    ❑
                                                    ❑ Yes. Go to line 17.
                                              16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                   for a business or investment or through the operation of the business or investment.
                                                    ❑ No. Go to line 16c.
                                                    ✔ Yes. Go to line 17.
                                                    ❑
                                              16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?         ❑     No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any
                                              ✔
                                              ❑     Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      exempt property is excluded                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses are                       ✔ No
                                                            ❑
      paid that funds will be available                     ❑ Yes
      for distribution to unsecured
      creditors?

  18. How many creditors do you                ✔ 1-49
                                               ❑                 ❑ 1,000-5,000             ❑ 25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                   ❑ 50-99           ❑ 5,001-10,000
                                               ❑ 100-199         ❑ 10,001-25,000
                                               ❑ 200-999

  19. How much do you estimate your            ❑ $0-$50,000                         ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      assets to be worth?                      ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                               ❑ $100,001-$500,000                  ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                               ✔ $500,001-$1 million
                                               ❑                                    ❑ $100,000,001-$500 million                ❑ More than $50 billion

  20. How much do you estimate your            ❑ $0-$50,000                         ✔ $1,000,001-$10 million
                                                                                    ❑                                          ❑ $500,000,001-$1 billion
      liabilities to be?                       ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                               ❑ $100,001-$500,000                  ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                               ❑ $500,001-$1 million                ❑ $100,000,001-$500 million                ❑ More than $50 billion
 Part 7: Sign Below


  For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                  States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                  have obtained and read the notice required by 11 U.S.C. § 342(b).
                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                  and 3571.

                                    ✘ /s/ Bruce Warren Solly                                        ✘ /s/ Traci Lee Tanner
                                        Bruce Warren Solly, Debtor 1                                    Traci Lee Tanner, Debtor 2
                                        Executed on 06/04/2024                                          Executed on 06/04/2024
                                                         MM/ DD/ YYYY                                                   MM/ DD/ YYYY




Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
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 Debtor 1            Bruce                  Warren                  Solly
 Debtor 2            Traci                  Lee                     Tanner                                         Case number (if known)
                     First Name             Middle Name             Last Name



   For your attorney, if you are              I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                         proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                              each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an           11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this     that the information in the schedules filed with the petition is incorrect.
   page.

                                              ✘ /s/ Kathryn P. Scordato                                              Date 06/04/2024
                                                   Signature of Attorney for Debtor                                        MM / DD / YYYY




                                                   Kathryn P. Scordato
                                                  Printed name

                                                   Scordato Law, PLLC
                                                  Firm name

                                                   PO Box 1962
                                                  Number           Street




                                                   Seattle                                                         WA       98111-1962
                                                  City                                                             State   ZIP Code




                                                  Contact phone (206) 223-9595                       Email address kathryn@scordatolaw.com


                                                   41922                                                           WA
                                                  Bar number                                                       State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 8
                    Case 24-11396-CMA                     Doc 1      Filed 06/04/24            Ent. 06/04/24 10:28:28                  Pg. 8 of 70
 Fill in this information to identify your case and this filing:

  Debtor 1                 Bruce                        Warren                       Solly
                           First Name                  Middle Name                  Last Name

  Debtor 2                 Traci                        Lee                          Tanner
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the:                         Western                    District of       Washington

  Case number                                                                                                                                                            ❑ Check if this is an
                                                                                                                                                                           amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                   12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ❑ No. Go to Part 2.
        ✔ Yes. Where is the property?
        ❑
                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1      1630 NW Nassau Ct                                ✔ Single-family home
                                                                  ❑                                                                     the amount of any secured claims on Schedule D:
                Street address, if available, or other            ❑ Duplex or multi-unit building                                       Creditors Who Have Claims Secured by Property.
                description                                       ❑ Condominium or cooperative                                         Current value of the              Current value of the
                                                                  ❑ Manufactured or mobile home                                        entire property?                  portion you own?
                                                                  ❑ Land
                                                                  ❑ Investment property                                                            $795,000.00                   $795,000.00
                 Poulsbo, WA 98370-9408                           ❑ Timeshare                                                          Describe the nature of your ownership interest
                                                                  ❑ Other
                City               State         ZIP Code
                                                                                                                                       (such as fee simple, tenancy by the entireties, or
                 Kitsap                                           Who has an interest in the property? Check one.                      a life estate), if known.
                County                                            ❑ Debtor 1 only                                                       Homestead
                                                                  ❑ Debtor 2 only
                                                                  ✔ Debtor 1 and Debtor 2 only
                                                                  ❑                                                                    ✔ Check if this is community property
                                                                                                                                       ❑
                                                                  ❑ At least one of the debtors and another                                 (see instructions)

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
        you have attached for Part 1. Write that number here ...................................................................................................
                                                                                                                                                                                 $795,000.00



  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ❑ No
           ✔ Yes
           ❑




Official Form 106A/B                                                                Schedule A/B: Property                                                                               page 1



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Debtor Solly, Bruce Warren; Tanner, Traci Lee                                                                               Case number (if known)



       3.1     Make:                           Honda             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:                          Accord            ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ✔ Debtor 1 and Debtor 2 only
                                                                 ❑                                                                    Current value of the            Current value of the
               Year:                           1998              ❑ At least one of the debtors and another                            entire property?                portion you own?

               Approximate mileage:            107,000           ✔ Check if this is community property (see
                                                                 ❑                                                                                    $1,500.00                  $1,500.00
                                                                      instructions)
               Other information:




       If you own or have more than one, describe here:

       3.2     Make:                          Chevrolet          Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
                            Colorado Pick Up                     ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
               Model:       Truck                                ✔ Debtor 1 and Debtor 2 only
                                                                 ❑                                                                    Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another                            entire property?                portion you own?
               Year:                           2018
                                                                 ✔ Check if this is community property (see
                                                                 ❑                                                                                  $19,374.00                  $19,374.00
                                               78,000                 instructions)
               Approximate mileage:

               Other information:




 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔ No
       ❑
       ❑ Yes

       4.1     Make:                                             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:                                            ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another
               Year:
                                                                                                                                      entire property?                portion you own?
               Other information:
                                                                 ❑ Check if this is community property (see
                                                                      instructions)




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here ...................................................................................................
                                                                                                                                                                               $20,874.00



  Part 3:          Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                                                    Current value of the
                                                                                                                                                                      portion you own?
                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                      claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                                                          $5,000.00
                                            Household goods and furnishings



Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 2




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 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                2 Smart Phones
                                                                                                                                                      $600.00
                                        Computer and peripherals

 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                              $100.00
                                        Books, decor items/pictures/wall art, knickknacks, and family keepsakes


 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                              $500.00
                                        Equipment for sports and hobbies


 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                          $3,000.00
                                        Clothing, Shoes, Outerwear, and Accessories


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                          $2,000.00
                                        Jewelry


 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ❑ No
       ✔ Yes. Give specific
       ❑                                                                                                                                              $500.00
           information. .............
                                        Misc. Tools and Equipment




Official Form 106A/B                                                Schedule A/B: Property                                                             page 3



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                                                                                                                                                                                       ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here .................................................................................................................................
                                                                                                                                                                                                             $11,700.00



  Part 4:             Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                        Current value of the
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.

 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ❑ No
       ✔ Yes ...................................................................................................................................................
       ❑                                                                                                                                                              Cash: ...................                   $300.00


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                                                      Institution name:

                                             17.1. Checking account:                           Bank of America
                                                                                                                                                                                                                $9,313.76
                                                                                               Account Number: XXXXXXXX1088

                                             17.2. Checking account:                           BECU
                                                                                                                                                                                                                     $4.04
                                                                                               Account Number: XXXXXX3781

                                             17.3. Checking account:                           Wells Fargo Bank
                                                                                                                                                                                                                     $5.37
                                                                                               Account Number: XXXXXX0342

                                             17.4. Savings account:                            BECU
                                                                                                                                                                                                                     $8.30
                                                                                               Account Number: XXXXXX3773


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔ No
       ❑
       ❑ Yes .....................          Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ❑ No
       ✔ Yes. Give specific
       ❑
            information about
            them....................        Name of entity:                                                                                                        % of ownership:

                                              Mad About Gardening, LLC - Sole and Managing Member -                                                                              100.00%
                                                                                                                                                                                                                     $0.00
                                              Ch 7 Filed concurrently with this Petition

                                              Marketing Resource Group, Inc., dba Toland Home Garden -                                                                           100.00%
                                              49% Shareholder, President - Ch 7 filed concurrently with                                                                                                              $0.00
                                              this Petition.




Official Form 106A/B                                                                              Schedule A/B: Property                                                                                            page 4


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 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about
           them....................   Issuer name:




 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ❑ No
       ✔ Yes. List each
       ❑
           account separately. Type of account:                 Institution name:

                                      401(k) or similar plan:    ADP                                                                           $42,198.92


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ✔ No
       ❑
       ❑ Yes ......................                        Institution name or individual:

                                      Electric:

                                      Gas:

                                      Heating oil:

                                      Security deposit on rental unit:

                                      Prepaid rent:

                                      Telephone:

                                      Water:

                                      Rented furniture:

                                      Other:


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................    Issuer name and description:




Official Form 106A/B                                                       Schedule A/B: Property                                                   page 5




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Debtor Solly, Bruce Warren; Tanner, Traci Lee                                                             Case number (if known)



 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔ No
       ❑
       ❑ Yes .....................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes. Give specific information about
                 them, including whether you                                                                        Federal:
                 already filed the returns and
                 the tax years. ...................                                                                 State:

                                                                                                                    Local:


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement




Official Form 106A/B                                                     Schedule A/B: Property                                                             page 6




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Debtor Solly, Bruce Warren; Tanner, Traci Lee                                                                                          Case number (if known)



       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
                                                                                                                                                     Alimony:

                                                                                                                                                     Maintenance:

                                                                                                                                                     Support:

                                                                                                                                                     Divorce settlement:

                                                                                                                                                     Property settlement:


 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ❑ No
       ✔ Yes. Name the insurance company
       ❑
                   of each policy and list its value. ...            Company name:                                             Beneficiary:                                        Surrender or refund value:

                                                                      State Farm                                                 Traci Tanner                                                     $3,382.00

                                                                      State Farm                                                 Bruce Solly                                                      $3,382.00


 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........



                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here .................................................................................................................................
                                                                                                                                                                                               $58,594.39



Official Form 106A/B                                                                      Schedule A/B: Property                                                                                       page 7



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Debtor Solly, Bruce Warren; Tanner, Traci Lee                                                  Case number (if known)




  Part 5:        Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ✔ No. Go to Part 6.
       ❑
       ❑ Yes. Go to line 38.
                                                                                                                                   Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe .......
                                 Name of entity:                                                         % of ownership:




 43.   Customer lists, mailing lists, or other compilations

       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                ❑ No
                ❑ Yes. Describe. .........




Official Form 106A/B                                             Schedule A/B: Property                                                            page 8



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Debtor Solly, Bruce Warren; Tanner, Traci Lee                                                                                          Case number (if known)



 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here .................................................................................................................................
                                                                                                                                                                                                   $0.00



  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.
                                                                                                                                                                                    Current value of the
                                                                                                                                                                                    portion you own?
                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                    claims or exemptions.

 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔ No
       ❑
       ❑ Yes ..........................


 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes ..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes ..........................




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                    page 9



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Debtor Solly, Bruce Warren; Tanner, Traci Lee                                                                                              Case number (if known)



 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here .................................................................................................................................
                                                                                                                                                                                                       $0.00



  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔                      $0.00



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔           $795,000.00


 56.   Part 2: Total vehicles, line 5                                                                              $20,874.00

 57.   Part 3: Total personal and household items, line 15                                                         $11,700.00

 58.   Part 4: Total financial assets, line 36                                                                     $58,594.39

 59.   Part 5: Total business-related property, line 45                                                                     $0.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                                            $0.00

 61.   Part 7: Total other property not listed, line 54                                            +                        $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                           $91,168.39              Copy personal property total             ➔       +    $91,168.39



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................                                   $886,168.39




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                    page 10


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 Fill in this information to identify your case:

  Debtor 1                    Bruce                Warren            Solly
                              First Name           Middle Name      Last Name

  Debtor 2                    Traci                Lee               Tanner
  (Spouse, if filing)         First Name           Middle Name      Last Name

  United States Bankruptcy Court for the:                   Western District of Washington

  Case number                                                                                                                   ❑ Check if this is an
  (if known)                                                                                                                        amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                               04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar
amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit.
Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount.
However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on              Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
 Schedule A/B that lists this property                      portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B
 Brief description:
                                                                                   ✔
                                                                                   ❑          $325,216.00                   Wash. Rev. Code. § 6.13.030(b)
 1630 NW Nassau Ct Poulsbo, WA                                      $795,000.00
 98370-9408                                                                        ❑ 100% of fair market value, up
                                                                                       to any applicable statutory limit
 Line from
 Schedule A/B:          1.1

 Brief description:
                                                                                   ✔
                                                                                   ❑           $1,500.00                    Wash. Rev. Code. § 6.15.010(1)
 1998 Honda Accord                                                     $1,500.00
                                                                                   ❑ 100% of fair market value, up          (d)(iv)
 Line from                                                                             to any applicable statutory limit
 Schedule A/B:          3.1


 3.   Are you claiming a homestead exemption of more than $189,050?
      (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
      ❑ No
      ✔ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
      ❑
        ❑✔ No
        ❑ Yes




Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                               page 1 of 4

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 Debtor 1             Bruce             Warren                Solly
 Debtor 2             Traci             Lee                   Tanner                                      Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the   Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from    Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                             ✔
                                                                             ❑           $5,775.00                    Wash. Rev. Code. § 6.15.010(1)
 2018 Chevrolet Colorado Pick Up Truck                         $19,374.00
                                                                             ❑ 100% of fair market value, up          (d)(iv)
 Line from                                                                      to any applicable statutory limit
 Schedule A/B:        3.2

 Brief description:
                                                                             ✔
                                                                             ❑           $5,000.00                    Wash. Rev. Code. § 6.15.010(1)
 Household goods and furnishings                                 $5,000.00
                                                                             ❑ 100% of fair market value, up          (d)(i)
 Line from                                                                      to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                             ✔
                                                                             ❑             $200.00                    Wash. Rev. Code. §
 Computer and peripherals                                          $200.00
                                                                             ❑ 100% of fair market value, up          6.15.010(1)(c)
 Line from                                                                      to any applicable statutory limit
 Schedule A/B:         7

 Brief description:
                                                                             ✔
                                                                             ❑             $400.00                    Wash. Rev. Code. §
 2 Smart Phones                                                    $400.00
                                                                             ❑ 100% of fair market value, up          6.15.010(1)(c)
 Line from                                                                      to any applicable statutory limit
 Schedule A/B:         7

 Brief description:
                                                                             ✔
                                                                             ❑             $100.00                    Wash. Rev. Code. § 6.15.010(1)
 Books, decor items/pictures/wall art,                             $100.00
 knickknacks, and family keepsakes                                           ❑ 100% of fair market value, up          (d)(i)
                                                                                to any applicable statutory limit
 Line from
 Schedule A/B:         8

 Brief description:
                                                                             ✔
                                                                             ❑             $500.00                    Wash. Rev. Code. § 6.15.010(1)
 Equipment for sports and hobbies                                  $500.00
                                                                             ❑ 100% of fair market value, up          (d)(i)
 Line from                                                                      to any applicable statutory limit
 Schedule A/B:         9

 Brief description:
                                                                             ✔
                                                                             ❑           $3,000.00                    Wash. Rev. Code. §
 Clothing, Shoes, Outerwear, and                                 $3,000.00
 Accessories                                                                 ❑ 100% of fair market value, up          6.15.010(1)(a)
                                                                                to any applicable statutory limit
 Line from
 Schedule A/B:        11

 Brief description:
                                                                             ✔
                                                                             ❑           $2,000.00                    Wash. Rev. Code. §
 Jewelry                                                         $2,000.00
                                                                             ❑ 100% of fair market value, up          6.15.010(1)(a)
 Line from                                                                      to any applicable statutory limit
 Schedule A/B:        12




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                             page 2 of 4




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 Debtor 1             Bruce             Warren                Solly
 Debtor 2             Traci             Lee                   Tanner                                      Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the   Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from    Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                             ✔
                                                                             ❑             $500.00                    Wash. Rev. Code. § 6.15.010(1)
 Misc. Tools and Equipment                                         $500.00
                                                                             ❑ 100% of fair market value, up          (d)(i)
 Line from                                                                      to any applicable statutory limit
 Schedule A/B:        14

 Brief description:
                                                                             ✔
                                                                             ❑             $300.00                    Wash. Rev. Code. § 6.15.010(1)
 Cash on hand                                                      $300.00
                                                                             ❑ 100% of fair market value, up          (d)(ii)
 Line from                                                                      to any applicable statutory limit
 Schedule A/B:        16

 Brief description:
                                                                             ✔
                                                                             ❑              $5.37                     Wash. Rev. Code. § 6.15.010(1)
 Wells Fargo Bank                                                    $5.37
 Checking account                                                            ❑ 100% of fair market value, up          (d)(ii)
 Acct. No.: XXXXXX0342                                                          to any applicable statutory limit

 Line from
 Schedule A/B:        17

 Brief description:
                                                                             ✔
                                                                             ❑              $4.04                     Wash. Rev. Code. § 6.15.010(1)
 BECU                                                                $4.04
 Checking account                                                            ❑ 100% of fair market value, up          (d)(ii)
 Acct. No.: XXXXXX3781                                                          to any applicable statutory limit

 Line from
 Schedule A/B:        17

 Brief description:
                                                                             ✔
                                                                             ❑              $8.30                     Wash. Rev. Code. § 6.15.010(1)
 BECU                                                                $8.30
 Savings account                                                             ❑ 100% of fair market value, up          (d)(ii)
 Acct. No.: XXXXXX3773                                                          to any applicable statutory limit

 Line from
 Schedule A/B:        17

 Brief description:
                                                                             ✔
                                                                             ❑           $9,313.76                    Wash. Rev. Code. § 6.15.010(1)
 Bank of America                                                 $9,313.76
 Checking account                                                            ❑ 100% of fair market value, up          (d)(ii)
 Acct. No.: XXXXXXXX1088                                                        to any applicable statutory limit

 Line from
 Schedule A/B:        17




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                             page 3 of 4




                 Case 24-11396-CMA                Doc 1       Filed 06/04/24         Ent. 06/04/24 10:28:28                Pg. 21 of 70
 Debtor 1             Bruce             Warren                Solly
 Debtor 2             Traci             Lee                   Tanner                                      Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the   Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from    Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                             ✔
                                                                             ❑          $42,198.92                    11 U.S.C. § 522(b)(3)(C)
 ADP                                                           $42,198.92
                                                                             ❑ 100% of fair market value, up
 Line from                                                                      to any applicable statutory limit
 Schedule A/B:        21

                                                                             ✔
                                                                             ❑              $0.00                     Wash. Rev. Code. § 6.15.020(3)
                                                                             ❑ 100% of fair market value, up
                                                                                to any applicable statutory limit


 Brief description:
                                                                             ✔
                                                                             ❑           $3,382.00                    Wash. Rev. Code. § 6.15.010(1)
 State Farm                                                      $3,382.00
                                                                             ❑ 100% of fair market value, up          (d)(ii)
 Line from                                                                      to any applicable statutory limit
 Schedule A/B:        31

 Brief description:
                                                                             ✔
                                                                             ❑           $3,382.00                    Wash. Rev. Code. § 6.15.010(1)
 State Farm                                                      $3,382.00
                                                                             ❑ 100% of fair market value, up          (d)(ii)
 Line from                                                                      to any applicable statutory limit
 Schedule A/B:        31




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                             page 4 of 4




                 Case 24-11396-CMA                Doc 1       Filed 06/04/24         Ent. 06/04/24 10:28:28                Pg. 22 of 70
 Fill in this information to identify your case:

     Debtor 1           Bruce                  Warren                 Solly
                        First Name             Middle Name           Last Name

     Debtor 2           Traci                  Lee                    Tanner
     (Spouse, if filing) First Name            Middle Name           Last Name

     United States Bankruptcy Court for the:              Western               District of    Washington

     Case number (if
     known)                                                                                                                                    ❑ Check if this is an
                                                                                                                                                    amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
1.     Do any creditors have claims secured by your property?
       ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List All Secured Claims

 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor              Column A               Column B              Column C
         separately for each claim. If more than one creditor has a particular claim, list the other            Amount of claim        Value of collateral   Unsecured
         creditors in Part 2. As much as possible, list the claims in alphabetical order according to the       Do not deduct the
                                                                                                                                       that supports this    portion
         creditor’s name.                                                                                       value of collateral.
                                                                                                                                       claim                 If any

     2.1 BECU                                          Describe the property that secures the claim:                   $43,376.00            $795,000.00              $0.00
         Creditor’s Name
                                                        1630 NW Nassau Ct Poulsbo, WA 98370-9408
          PO Box 97050
         Number          Street
                                                       As of the date you file, the claim is: Check all that apply.
                                                       ❑ Contingent
          Seattle, WA 98124-9750                       ❑ Unliquidated
         City               State       ZIP Code       ❑ Disputed
         Who owes the debt? Check one.                 Nature of lien. Check all that apply.
         ❑ Debtor 1 only                               ✔ An agreement you made (such as mortgage or secured car loan)
                                                       ❑
         ❑ Debtor 2 only                               ❑ Statutory lien (such as tax lien, mechanic’s lien)
         ✔ Debtor 1 and Debtor 2 only
         ❑                                             ❑ Judgment lien from a lawsuit
         ❑ At least one of the debtors and             ❑ Other (including a right to
              another                                      offset)
         ✔ Check if this claim relates to a
         ❑
              community debt
         Date debt was incurred         2/2/2024       Last 4 digits of account number         6    6       1   5

         Add the dollar value of your entries in Column A on this page. Write that number here:                       $43,376.00




Official Form 106D                                   Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 3




                Case 24-11396-CMA                      Doc 1         Filed 06/04/24             Ent. 06/04/24 10:28:28                       Pg. 23 of 70
Debtor 1        Bruce                 Warren                  Solly                            Case number (if known)
Debtor 2        Traci                 Lee                     Tanner
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

  2.2 JPMorgan Chase Bank, N.A.                  Describe the property that secures the claim:                  $13,599.00           $19,374.00                $0.00
      Creditor’s Name
       Legal Papers Served                       2018 Chevrolet Colorado Pick Up Truck

       700 Kansas Ln Mail Code                   As of the date you file, the claim is: Check all that apply.
       LA4-7100                                  ❑ Contingent
      Number         Street
                                                 ❑ Unliquidated
       Monroe, LA 71203-4774                     ❑ Disputed
      City              State      ZIP Code
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ❑ Debtor 1 only                            ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ✔ Debtor 1 and Debtor 2 only
      ❑                                          ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ✔ Check if this claim relates to a
      ❑
           community debt
      Date debt was incurred        2021         Last 4 digits of account number         0    5   2    2

  2.3 Kitsap Credit Union                        Describe the property that secures the claim:              $426,408.00             $795,000.00                $0.00
      Creditor’s Name
                                                 1630 NW Nassau Ct Poulsbo, WA 98370-9408
       PO Box 990
      Number         Street
                                                 As of the date you file, the claim is: Check all that apply.
                                                 ❑ Contingent
       Bremerton, WA 98337-0230                  ❑ Unliquidated
      City              State      ZIP Code      ❑ Disputed
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ❑ Debtor 1 only                            ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ✔ Debtor 1 and Debtor 2 only
      ❑                                          ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ✔ Check if this claim relates to a
      ❑
           community debt
      Date debt was incurred      11/6/2020      Last 4 digits of account number         9    9   0    5

      Add the dollar value of your entries in Column A on this page. Write that number here:                $440,007.00
      If this is the last page of your form, add the dollar value totals from all pages.
                                                                                                            $483,383.00
      Write that number here:

Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 3




             Case 24-11396-CMA                  Doc 1          Filed 06/04/24              Ent. 06/04/24 10:28:28                   Pg. 24 of 70
Debtor 1        Bruce                 Warren                Solly                           Case number (if known)
Debtor 2        Traci                 Lee                   Tanner
               First Name            Middle Name            Last Name

   Part 2:     List Others to Be Notified for a Debt That You Already Listed

 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
 agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly,
 if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional
 persons to be notified for any debts in Part 1, do not fill out or submit this page.
   1. Member First Mortgage, LLC
                                                                                  On which line in Part 1 did you enter the creditor? 2.3
      Name
                                                                                  Last 4 digits of account number
       616 44th St SE
      Number            Street


       Grand Rapids, MI 49548-7576
      City                                  State            ZIP Code




Official Form 106D                       Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                page 3 of 3



             Case 24-11396-CMA                      Doc 1    Filed 06/04/24            Ent. 06/04/24 10:28:28                 Pg. 25 of 70
 Fill in this information to identify your case:

  Debtor 1            Bruce                   Warren                  Solly
                     First Name              Middle Name              Last Name

  Debtor 2            Traci                   Lee                     Tanner
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the:                Western                 District of    Washington

  Case number
  (if known)                                                                                                                                  ❑ Check if this is an
                                                                                                                                                   amended filing

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out,
number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case
number (if known).

      Part 1:      List All of Your PRIORITY Unsecured Claims

 1.     Do any creditors have priority unsecured claims against you?
        ✔ No. Go to Part 2.
        ❑
        ❑ Yes.
      Part 2:      List All of Your NONPRIORITY Unsecured Claims

 3.     Do any creditors have nonpriority unsecured claims against you?
        ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        ✔ Yes
        ❑
 4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
        included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
  4.1 Amazon Capital Services, Inc.                                      Last 4 digits of account number          3    3     2    6                           $42,113.31
        Nonpriority Creditor’s Name
                                                                         When was the debt incurred?
         410 Terry Ave N
        Number                Street
                                                                         As of the date you file, the claim is: Check all that apply.
                                                                         ❑ Contingent
         Seattle, WA 98109
                                                                         ❑ Unliquidated
        City                       State                   ZIP Code
                                                                         ❑ Disputed
        Who incurred the debt? Check one.
                                                                         Type of NONPRIORITY unsecured claim:
        ❑ Debtor 1 only
        ❑ Debtor 2 only                                                  ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                     ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                              priority claims
        ✔ At least one of the debtors and another
        ❑                                                                ❑ Debts to pension or profit-sharing plans, and other similar debts
        ✔ Check if this claim is for a community debt
        ❑                                                                ✔ Other. Specify Personal Guarantee
                                                                         ❑
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 11




                Case 24-11396-CMA                     Doc 1         Filed 06/04/24               Ent. 06/04/24 10:28:28                    Pg. 26 of 70
Debtor 1        Bruce                   Warren               Solly                           Case number (if known)
Debtor 2        Traci                   Lee                  Tanner
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.2 BECU                                                       Last 4 digits of account number         6    4   9    9                          $8,197.96
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                  7/2023
      PO Box 97050
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Seattle, WA 98124-9750
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Personal Loan
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.3 Bluevine                                                   Last 4 digits of account number         3    7   8    6                         $43,785.02
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      401 Warren St Ste 300
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Redwood City, CA 94063-1536
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ✔ At least one of the debtors and another
      ❑                                                          ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Personal Guarantee
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 2 of 11




             Case 24-11396-CMA                   Doc 1       Filed 06/04/24             Ent. 06/04/24 10:28:28                  Pg. 27 of 70
Debtor 1        Bruce                   Warren               Solly                           Case number (if known)
Debtor 2        Traci                   Lee                  Tanner
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.4 CIT/Direct Capital                                         Last 4 digits of account number         2    0   0    0                          $9,950.16
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      155 Commerce Way
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Portsmouth, NH 03801-3243
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ✔ At least one of the debtors and another
      ❑                                                          ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Personal Guarantee
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.5 CIT/Direct Capital                                         Last 4 digits of account number         0    0   0    0                         $13,960.44
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      155 Commerce Way
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Portsmouth, NH 03801-3243
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ✔ At least one of the debtors and another
      ❑                                                          ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Personal Guarantee
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3 of 11




             Case 24-11396-CMA                   Doc 1       Filed 06/04/24             Ent. 06/04/24 10:28:28                  Pg. 28 of 70
Debtor 1        Bruce                 Warren                   Solly                          Case number (if known)
Debtor 2        Traci                 Lee                      Tanner
               First Name             Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                          Total claim
4.6 First Federal Savings & Loan                                 Last 4 digits of account number         0    6   1    1                         $508,790.73
    Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
     PO Box 351
    Number              Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
     Port Angeles, WA 98362-0055
                                                                 ❑ Unliquidated
    City                    State                   ZIP Code
                                                                 ❑ Disputed
    Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
    ❑ Debtor 1 only
    ❑ Debtor 2 only                                              ❑ Student loans
    ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                       priority claims
    ✔ At least one of the debtors and another
    ❑                                                            ❑ Debts to pension or profit-sharing plans, and other similar debts
    ✔ Check if this claim is for a community debt
    ❑                                                            ✔ Other. Specify Personal Guarantee
                                                                 ❑
    Is the claim subject to offset?
    ✔ No
    ❑
    ❑ Yes
4.7 Goldman Sachs                                                Last 4 digits of account number         2    8   2    8                          $41,471.53
    Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
     PO Box 46400
    Number              Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
     Salt Lake City, UT 84145
                                                                 ❑ Unliquidated
    City                    State                   ZIP Code
                                                                 ❑ Disputed
    Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
    ❑ Debtor 1 only
    ❑ Debtor 2 only                                              ❑ Student loans
    ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                       priority claims
    ✔ At least one of the debtors and another
    ❑                                                            ❑ Debts to pension or profit-sharing plans, and other similar debts
    ✔ Check if this claim is for a community debt
    ❑                                                            ✔ Other. Specify Personal Guarantee
                                                                 ❑
    Is the claim subject to offset?
    ✔ No
    ❑
    ❑ Yes




Official Form 106E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                             page 4 of 11



             Case 24-11396-CMA                 Doc 1           Filed 06/04/24            Ent. 06/04/24 10:28:28                  Pg. 29 of 70
Debtor 1        Bruce                  Warren                   Solly                           Case number (if known)
Debtor 2        Traci                  Lee                      Tanner
                First Name             Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                            Total claim
4.8 Lightstream                                                    Last 4 digits of account number         4    3   7    5                          $34,911.00
     Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                  5/2022
     PO Box 117320
     Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

     Atlanta, GA 30368-7320
                                                                   ❑ Contingent
     City                    State                   ZIP Code
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
     Who incurred the debt? Check one.
     ❑ Debtor 1 only
                                                                   Type of NONPRIORITY unsecured claim:

     ❑ Debtor 2 only                                               ❑ Student loans
     ✔ Debtor 1 and Debtor 2 only
     ❑                                                             ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                        priority claims
     ❑ At least one of the debtors and another                     ❑ Debts to pension or profit-sharing plans, and other similar debts
     ✔ Check if this claim is for a community debt
     ❑                                                             ✔ Other. Specify Personal Loan
                                                                   ❑
     Is the claim subject to offset?
     ✔ No
     ❑
     ❑ Yes
4.9 OnDeck                                                         Last 4 digits of account number         3    7   7    7                         $211,271.30
     Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
     Attn: Director of Operations
     4700 W Daybreak Pkwy Ste 200
                                                                   As of the date you file, the claim is: Check all that apply.
     Number             Street
                                                                   ❑ Contingent
     South Jordan, UT 84009-5133
                                                                   ❑ Unliquidated
     City                    State                   ZIP Code
                                                                   ❑ Disputed
     Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
     ❑ Debtor 1 only
                                                                   ❑ Student loans
     ❑ Debtor 2 only
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
     ❑ Debtor 1 and Debtor 2 only                                       priority claims
     ✔ At least one of the debtors and another
     ❑                                                             ❑ Debts to pension or profit-sharing plans, and other similar debts
     ✔ Check if this claim is for a community debt
     ❑                                                             ✔ Other. Specify Personal Guarantee
                                                                   ❑
     Is the claim subject to offset?
     ✔ No
     ❑
     ❑ Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                              page 5 of 11


             Case 24-11396-CMA                  Doc 1           Filed 06/04/24             Ent. 06/04/24 10:28:28                 Pg. 30 of 70
Debtor 1        Bruce                   Warren               Solly                           Case number (if known)
Debtor 2        Traci                   Lee                  Tanner
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.10 Onramp                                                      Last 4 digits of account number                                                 $72,599.73
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      1705 S Capital of Texas Hwy
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Austin, TX 78746-6578                                      ❑ Unliquidated
      City                    State                   ZIP Code   ✔ Disputed
                                                                 ❑
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only                                            ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ✔ At least one of the debtors and another
      ❑                                                          ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Personal Guarantee
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.11 Paypal, Inc.                                                Last 4 digits of account number                                                 $15,053.94
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      Attn: Legal Specialists
      PO Box 45950                                               As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
      Omaha, NE 68145-0950                                       ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only                                            ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ✔ At least one of the debtors and another
      ❑                                                          ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Personal Guarantee
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6 of 11


             Case 24-11396-CMA                   Doc 1       Filed 06/04/24             Ent. 06/04/24 10:28:28                  Pg. 31 of 70
Debtor 1        Bruce                   Warren               Solly                             Case number (if known)
Debtor 2        Traci                   Lee                  Tanner
                First Name              Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                            Total claim
4.12 US Small Business Administration                              Last 4 digits of account number         7    9   0    3                        $493,911.69
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
      CESC - COVID EIDL Service Center
      14925 Kingsport Rd
                                                                   As of the date you file, the claim is: Check all that apply.
      Number            Street
                                                                   ❑ Contingent
      Fort Worth, TX 76155-2243
                                                                   ❑ Unliquidated
      City                   State                    ZIP Code
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
                                                                   ❑ Student loans
      ❑ Debtor 2 only
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ✔ At least one of the debtors and another
      ❑                                                            ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                            ✔ Other. Specify Personal Guarantee
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.13 US Small Business Administration                              Last 4 digits of account number         7    4   0    2                        $495,679.75
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
      CESC - COVID EIDL Service Center
      14925 Kingsport Rd
                                                                   As of the date you file, the claim is: Check all that apply.
      Number            Street
                                                                   ❑ Contingent
      Fort Worth, TX 76155-2243
                                                                   ❑ Unliquidated
      City                   State                    ZIP Code
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
                                                                   ❑ Student loans
      ❑ Debtor 2 only
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ✔ At least one of the debtors and another
      ❑                                                            ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                            ✔ Other. Specify Personal Guarantee
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                             page 7 of 11


             Case 24-11396-CMA                   Doc 1           Filed 06/04/24           Ent. 06/04/24 10:28:28                  Pg. 32 of 70
Debtor 1        Bruce                   Warren              Solly                           Case number (if known)
Debtor 2        Traci                   Lee                 Tanner
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.14 Virginia Mason Medical Center                              Last 4 digits of account number         6    8   9    9                         $4,284.74
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Patient Account Services
       PO Box 24163
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Seattle, WA 98124-0163
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
                                                                 ❑ Student loans
      ❑ Debtor 2 only
      ✔ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑                                                              priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Medical Bill
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 8 of 11



             Case 24-11396-CMA                   Doc 1       Filed 06/04/24            Ent. 06/04/24 10:28:28                   Pg. 33 of 70
Debtor 1        Bruce                 Warren                 Solly                          Case number (if known)
Debtor 2        Traci                 Lee                    Tanner
               First Name             Middle Name           Last Name

   Part 3:      List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
    collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
    agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If
    you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 1. Alien Finance, LLC                                            On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.10 of (Check one):     ❑ Part 1: Creditors with Priority Unsecured Claims
     5830 E 2nd St Ste 7000 Pmb 5788                                                            ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
    Number         Street
                                                                  Last 4 digits of account number

     Casper, WY 82609-4308
    City                         State          ZIP Code
 2. CT Corporation System                                         On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.10 of (Check one):     ❑ Part 1: Creditors with Priority Unsecured Claims
     Attn: SPRS                                                                                 ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
     330 N Brand Blvd Ste 700                                     Last 4 digits of account number
    Number         Street
     Glendale, CA 91203-2336
    City                         State          ZIP Code
 3. US Small Business Administration                              On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.12 of (Check one):     ❑ Part 1: Creditors with Priority Unsecured Claims
     409 3rd St SW                                                                              ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
    Number         Street
                                                                  Last 4 digits of account number

     Washington, DC 20416
    City                         State          ZIP Code
 4. US Small Business Administration                              On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.12 of (Check one):     ❑ Part 1: Creditors with Priority Unsecured Claims
     2401 4th Ave Ste 400                                                                       ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
    Number         Street
                                                                  Last 4 digits of account number

     Seattle, WA 98121
    City                         State          ZIP Code
 5. US Small Business Administration                              On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.12 of (Check one):     ❑ Part 1: Creditors with Priority Unsecured Claims
     10737 Gateway Blvd W Ste 300                                                               ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
    Number         Street
                                                                  Last 4 digits of account number

     El Paso, TX 79935-4910
    City                         State          ZIP Code
 6. US Attorney's Office                                          On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.12 of (Check one):     ❑ Part 1: Creditors with Priority Unsecured Claims
     Attn: Civil Process Clerk                                                                  ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
     700 Stewart St Room 5220                                     Last 4 digits of account number
    Number         Street
     Seattle, WA 98101
    City                         State          ZIP Code




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 9 of 11

             Case 24-11396-CMA                  Doc 1        Filed 06/04/24            Ent. 06/04/24 10:28:28                  Pg. 34 of 70
Debtor 1        Bruce             Warren              Solly                          Case number (if known)
Debtor 2        Traci             Lee                 Tanner
               First Name         Middle Name         Last Name

   Part 3:      List Others to Be Notified About a Debt That You Already Listed - Additional Page
 7. US Small Business Administration                       On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                           Line 4.13 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     409 3rd St SW                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                        ❑
    Number         Street
                                                           Last 4 digits of account number

     Washington, DC 20416
    City                      State        ZIP Code
 8. US Small Business Administration                       On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                           Line 4.13 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     2401 4th Ave Ste 400                                                               ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                        ❑
    Number         Street
                                                           Last 4 digits of account number

     Seattle, WA 98121
    City                      State        ZIP Code
 9. US Small Business Administration                       On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                           Line 4.13 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     10737 Gateway Blvd W Ste 300                                                       ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                        ❑
    Number         Street
                                                           Last 4 digits of account number

     El Paso, TX 79935-4910
    City                      State        ZIP Code
10. US Attorney's Office                                   On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                           Line 4.13 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     Attn: Civil Process Clerk                                                          ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                        ❑
     700 Stewart St Room 5220                              Last 4 digits of account number
    Number         Street
     Seattle, WA 98101
    City                      State        ZIP Code




Official Form 106E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                       page 10 of 11




             Case 24-11396-CMA             Doc 1       Filed 06/04/24           Ent. 06/04/24 10:28:28                  Pg. 35 of 70
Debtor 1          Bruce                   Warren                 Solly                       Case number (if known)
Debtor 2          Traci                   Lee                    Tanner
                  First Name             Middle Name            Last Name

      Part 4:     Add the Amounts for Each Type of Unsecured Claim

 6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.



                                                                                                Total claim

 Total claims      6a.    Domestic support obligations                                6a.                          $0.00
 from Part 1
                   6b.    Taxes and certain other debts you owe the government        6b.                          $0.00

                   6c.    Claims for death or personal injury while you were          6c.                          $0.00
                          intoxicated

                   6d.    Other. Add all other priority unsecured claims.             6d.   +                      $0.00
                          Write that amount here.

                   6e.    Total. Add lines 6a through 6d.                             6e.
                                                                                                                  $0.00



                                                                                                Total claim

 Total claims      6f.    Student loans                                               6f.                          $0.00
 from Part 2
                   6g.    Obligations arising out of a separation agreement or        6g.                          $0.00
                          divorce that you did not report as priority claims

                   6h.    Debts to pension or profit-sharing plans, and other         6h.                          $0.00
                          similar debts

                   6i.    Other. Add all other nonpriority unsecured claims.          6i.   +            $1,995,981.30
                          Write that amount here.

                   6j.    Total. Add lines 6f through 6i.                             6j.
                                                                                                         $1,995,981.30




Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                    page 11 of 11




                Case 24-11396-CMA                   Doc 1        Filed 06/04/24         Ent. 06/04/24 10:28:28                 Pg. 36 of 70
 Fill in this information to identify your case:

     Debtor 1                       Bruce                Warren           Solly
                                    First Name           Middle Name     Last Name

     Debtor 2                       Traci                Lee              Tanner
     (Spouse, if filing)            First Name           Middle Name     Last Name

     United States Bankruptcy Court for the:                      Western District of Washington

     Case number                                                                                                                      ❑ Check if this is an
     (if known)                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                           State what the contract or lease is for

2.1

        Name

        Number             Street

        City                                     State   ZIP Code

2.2

        Name

        Number             Street

        City                                     State   ZIP Code

2.3

        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                        page 1 of 1
                       Case 24-11396-CMA                       Doc 1     Filed 06/04/24        Ent. 06/04/24 10:28:28                 Pg. 37 of 70
 Fill in this information to identify your case:

  Debtor 1             Bruce                  Warren                   Solly
                      First Name             Middle Name              Last Name

  Debtor 2             Traci                  Lee                      Tanner
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the:                   Western             District of    Washington

  Case number
  (if known)                                                                                                                               ❑ Check if this is an
                                                                                                                                               amended filing

Official Form 106H

Schedule H: Your Codebtors                                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ❑ No
        ✔ Yes
        ❑
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ❑ No. Go to line 3.
        ✔ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑
               ❑ No
               ✔ Yes. In which community state or territory did you live?
               ❑                                                                    Washington            . Fill in the name and current address of that person.

                   Tanner, Traci Lee
                   Name of your spouse, former spouse, or legal equivalent
                   1630 NW Nassau Ct
                   Number                 Street
                   Poulsbo, WA 98370-9408
                   City                            State                          ZIP Code

               ✔ Yes. In which community state or territory did you live?
               ❑                                                                    Washington            . Fill in the name and current address of that person.

                   Solly, Bruce Warren
                   Name of your spouse, former spouse, or legal equivalent
                   1630 NW Nassau Ct
                   Number                 Street
                   Poulsbo, WA 98370-9408
                   City                            State                          ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line
        2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                          Column 2: The creditor to whom you owe the debt

                                                                                                         Check all schedules that apply:
 3.1    Mad About Gardening, LLC
        Name                                                                                             ❑ Schedule D, line
        26296 Twelve Trees Ln NW, Ste 100                                                                ✔ Schedule E/F, line
                                                                                                         ❑
        Number                          Street                                                           4.1, 4.3, 4.4, 4.5, 4.7, 4.9, 4.10, 4.11, 4.12
        Poulsbo, WA 98370-9435                                                                           ❑ Schedule G, line
        City                                       State                                      ZIP Code




Official Form 106H                                                       Schedule H: Codebtors                                                          page 1 of 2



               Case 24-11396-CMA                           Doc 1      Filed 06/04/24             Ent. 06/04/24 10:28:28                Pg. 38 of 70
Debtor 1        Bruce              Warren                 Solly                       Case number (if known)
Debtor 2        Traci              Lee                    Tanner
                First Name         Middle Name            Last Name



                Additional Page to List More Codebtors

       Column 1: Your codebtor                                                            Column 2: The creditor to whom you owe the debt

                                                                                          Check all schedules that apply:
 3.2   Marketing Resource Group, Inc.
       Name                                                                               ❑ Schedule D, line
       26296 Twelve Trees Ln NW, Ste 100                                                  ✔ Schedule E/F, line
                                                                                          ❑                        4.6, 4.13
       Number                    Street
                                                                                          ❑ Schedule G, line
       Poulsbo, WA 98370-9435
       City                               State                              ZIP Code




Official Form 106H                                            Schedule H: Codebtors                                              page 2 of 2




              Case 24-11396-CMA                   Doc 1    Filed 06/04/24       Ent. 06/04/24 10:28:28                  Pg. 39 of 70
 Fill in this information to identify your case:

  Debtor 1                  Bruce                  Warren           Solly
                           First Name              Middle Name     Last Name

  Debtor 2                  Traci                  Lee              Tanner
  (Spouse, if filing)      First Name              Middle Name     Last Name                                            Check if this is:

                                                            Western District of Washington
                                                                                                                        ❑ An amended filing
                                                                                                                        ❑ A supplement showing postpetition
  United States Bankruptcy Court for the:

  Case number                                                                                                              chapter 13 income as of the following date:
  (if known)

                                                                                                                           MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                             Debtor 1                                        Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status                     ✔ Not Employed
                                                                        ❑ Employed ❑                                                ✔ Not Employed
                                                                                                                         ❑ Employed ❑
     attach a separate page with
     information about additional            Occupation                 Retired                                          Retired
     employers.
                                             Employer's name
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address
     Occupation may include student                                     Number Street                                     Number Street
     or homemaker, if it applies.




                                                                        City                     State   Zip Code         City                State     Zip Code

                                             How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                     For Debtor 1   For Debtor 2 or
                                                                                                                    non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.         2.                $0.00                     $0.00

 3. Estimate and list monthly overtime pay.                                             3.   +            $0.00     +               $0.00


 4. Calculate gross income. Add line 2 + line 3.                                        4.                $0.00                     $0.00




Official Form 106I                                                      Schedule I: Your Income                                                              page 1
                    Case 24-11396-CMA                    Doc 1     Filed 06/04/24            Ent. 06/04/24 10:28:28                 Pg. 40 of 70
 Debtor 1                 Bruce                        Warren                          Solly
 Debtor 2                 Traci                        Lee                             Tanner                                        Case number (if known)
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.               $0.00                    $0.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.              $0.00                    $0.00
       5b. Mandatory contributions for retirement plans                                                        5b.              $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.              $0.00                    $0.00
       5d. Required repayments of retirement fund loans                                                        5d.              $0.00                    $0.00
       5e. Insurance                                                                                           5e.              $0.00                    $0.00
       5f. Domestic support obligations                                                                        5f.              $0.00                    $0.00
       5g. Union dues                                                                                          5g.              $0.00                    $0.00
       5h. Other deductions. Specify:                                                                          5h. +            $0.00         +          $0.00
 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.               $0.00                    $0.00
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.               $0.00                    $0.00
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.              $0.00                    $0.00
       8b. Interest and dividends                                                                              8b.              $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.              $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.              $0.00                    $0.00
       8e. Social Security                                                                                     8e.          $3,163.00               $1,345.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.

            Specify:                                                                                           8f.              $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.              $0.00                    $0.00
       8h. Other monthly income. Specify:                                                                      8h.    +         $0.00         +          $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.           $3,163.00                $1,345.00
 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.          $3,163.00     +          $1,345.00          =         $4,508.00

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.            $4,508.00
                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:
Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
                    Case 24-11396-CMA                                 Doc 1             Filed 06/04/24               Ent. 06/04/24 10:28:28            Pg. 41 of 70
 Fill in this information to identify your case:

  Debtor 1                  Bruce                   Warren               Solly
                                                                                                                 Check if this is:
                           First Name               Middle Name         Last Name
                                                                                                                 ❑ An amended filing
  Debtor 2                  Traci                   Lee                  Tanner
  (Spouse, if filing)      First Name               Middle Name         Last Name
                                                                                                                 ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                    Western District of Washington
                                                                                                                      MM / DD / YYYY
  Case number
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ❑ No. Go to line 2.
     ✔ Yes. Does Debtor 2 live in a separate household?
     ❑
             ✔ No
             ❑
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ✔ No
                                               ❑
     Do not list Debtor 1 and                  ❑ Yes. Fill out this information         Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.                                                                                                                                    ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                    4.                  $2,784.00

     If not included in line 4:
     4a. Real estate taxes                                                                                                    4a.                       $0.00
     4b. Property, homeowner's, or renter's insurance                                                                         4b.                       $0.00
     4c. Home maintenance, repair, and upkeep expenses                                                                        4c.                   $100.00
     4d. Homeowner's association or condominium dues                                                                          4d.                     $45.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1

                    Case 24-11396-CMA                      Doc 1        Filed 06/04/24            Ent. 06/04/24 10:28:28                Pg. 42 of 70
 Debtor 1             Bruce                 Warren               Solly
 Debtor 2             Traci                 Lee                  Tanner                                      Case number (if known)
                      First Name            Middle Name          Last Name


                                                                                                                             Your expenses


 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                  $335.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                 $300.00
       6b. Water, sewer, garbage collection                                                                        6b.                 $200.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                 $330.00

       6d. Other. Specify:                                                                                         6d.                       $0.00
 7.    Food and housekeeping supplies                                                                              7.                  $600.00

 8.    Childcare and children’s education costs                                                                    8.                        $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                        $0.00

 10. Personal care products and services                                                                           10.                  $90.00

 11.   Medical and dental expenses                                                                                 11.                 $200.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                 $200.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                  $90.00

 14. Charitable contributions and religious donations                                                              14.                       $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a. Life insurance                                                                                         15a.                $550.00
       15b. Health insurance                                                                                       15b.                $800.00
       15c. Vehicle insurance                                                                                      15c.                $267.00

       15d. Other insurance. Specify: Long Term Care Insurance                                                     15d.                $155.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                       $0.00

 17. Installment or lease payments:
       17a. Car payments for Vehicle 1 2018 Chevrolet Colorado Pick Up Truck                                       17a.                $436.00
       17b. Car payments for Vehicle 2                                                                             17b.                      $0.00
       17c. Other. Specify:                                                                                        17c.                      $0.00
       17d. Other. Specify:                                                                                        17d.                      $0.00
 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                       $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                       $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
       20a. Mortgages on other property                                                                            20a.                      $0.00
       20b. Real estate taxes                                                                                      20b.                      $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                      $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                      $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                      $0.00


Official Form 106J                                                          Schedule J: Your Expenses                                                page 2

                    Case 24-11396-CMA                 Doc 1       Filed 06/04/24          Ent. 06/04/24 10:28:28              Pg. 43 of 70
 Debtor 1            Bruce               Warren                Solly
 Debtor 2            Traci               Lee                   Tanner                                       Case number (if known)
                     First Name          Middle Name           Last Name



 21. Other. Specify:                                                                                              21.    +                 $0.00


 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.                  $7,482.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                      $0.00
      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.                  $7,482.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.                  $4,508.00

      23b. Copy your monthly expenses from line 22c above.                                                        23b.       –          $7,482.00
      23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                                23c.                 ($2,974.00)



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                   page 3

                Case 24-11396-CMA                    Doc 1      Filed 06/04/24           Ent. 06/04/24 10:28:28                  Pg. 44 of 70
 Fill in this information to identify your case:

  Debtor 1                      Bruce                       Warren                   Solly
                               First Name                  Middle Name              Last Name

  Debtor 2                      Traci                       Lee                      Tanner
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                              Western District of Washington

  Case number                                                                                                                                                            ❑ Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                    $795,000.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                            $91,168.39

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                    $886,168.39



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                            $483,383.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                          $0.00

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +       $1,995,981.30

                                                                                                                                                  Your total liabilities               $2,479,364.30

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                    $4,508.00


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                  $7,482.00




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
                    Case 24-11396-CMA                              Doc 1            Filed 06/04/24                    Ent. 06/04/24 10:28:28                             Pg. 45 of 70
Debtor 1            Bruce                 Warren                 Solly
Debtor 2            Traci                 Lee                    Tanner                                            Case number (if known)
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ❑ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
   ✔ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
   ❑
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)



    9d. Student loans. (Copy line 6f.)



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +


    9g. Total. Add lines 9a through 9f.




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                       page 2 of 2
                Case 24-11396-CMA                    Doc 1        Filed 06/04/24             Ent. 06/04/24 10:28:28                 Pg. 46 of 70
 Fill in this information to identify your case:

  Debtor 1                  Bruce                  Warren            Solly
                            First Name             Middle Name      Last Name

  Debtor 2                  Traci                  Lee               Tanner
  (Spouse, if filing)       First Name             Middle Name      Last Name

  United States Bankruptcy Court for the:                   Western District of Washington

  Case number                                                                                                                        ❑ Check if this is an
  (if known)                                                                                                                              amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                           12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                               . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                         Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Bruce Warren Solly                                            ✘ /s/ Traci Lee Tanner
        Bruce Warren Solly, Debtor 1                                         Traci Lee Tanner, Debtor 2


        Date 06/04/2024                                                      Date 06/04/2024
                 MM/ DD/ YYYY                                                      MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                    Case 24-11396-CMA                    Doc 1      Filed 06/04/24            Ent. 06/04/24 10:28:28                Pg. 47 of 70
 Fill in this information to identify your case:

  Debtor 1                  Bruce                  Warren            Solly
                           First Name              Middle Name      Last Name

  Debtor 2                  Traci                  Lee               Tanner
  (Spouse, if filing)      First Name              Middle Name      Last Name

  United States Bankruptcy Court for the:                   Western District of Washington

  Case number                                                                                                                        ❑ Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                              Dates Debtor 1 lived    Debtor 2:                                             Dates Debtor 2 lived
                                                             there                                                                         there


                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                            From                                                                          From
    Number       Street                                                               Number     Street
                                                            To                                                                            To



    City                            State ZIP Code                                    City                          State ZIP Code



                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                            From                                                                          From
    Number       Street                                                               Number     Street
                                                            To                                                                            To



    City                            State ZIP Code                                    City                          State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ❑ No
    ✔ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).
    ❑

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 1
                    Case 24-11396-CMA                    Doc 1      Filed 06/04/24           Ent. 06/04/24 10:28:28                  Pg. 48 of 70
Debtor 1            Bruce             Warren                 Solly
Debtor 2            Traci             Lee                    Tanner                                          Case number (if known)
                    First Name        Middle Name            Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross Income                Sources of income           Gross Income
                                                Check all that apply.       (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)

                                               ✔ Wages, commissions,
                                               ❑                                                       ✔ Wages, commissions,
                                                                                                       ❑
    From January 1 of current year until the
                                                    bonuses, tips                   $56,539.71             bonuses, tips                    $16,960.00
    date you filed for bankruptcy:
                                               ❑ Operating a business                                  ❑ Operating a business

    For last calendar year:                    ✔ Wages, commissions,
                                               ❑                                                       ✔ Wages, commissions,
                                                                                                       ❑
                                                    bonuses, tips                  $112,825.40             bonuses, tips                    $18,540.00
    (January 1 to December 31, 2023       )
                                   YYYY        ❑ Operating a business                                  ❑ Operating a business

    For the calendar year before that:         ✔ Wages, commissions,
                                               ❑                                                       ✔ Wages, commissions,
                                                                                                       ❑
                                                    bonuses, tips                  $189,451.00             bonuses, tips                    Combined
    (January 1 to December 31, 2022       )
                                   YYYY        ❑ Operating a business                                  ❑ Operating a business                 Income




  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross income from           Sources of income           Gross Income from
                                                Describe below.             each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the    Social Security                        $6,326.00        Social Security                       $5,380.00
    date you filed for bankruptcy:
                                                Withdrawal of                        $60,999.00
                                                Insurance Cash
                                                Value, used to pay
                                                HELOC (May
                                                2024)


    For last calendar year:                     Proceeds of Port                    $207,728.02
    (January 1 to December 31, 2023       )     Townsend Land
                                   YYYY         Sale, used to pay
                                                off Student Loans
                                                (April 2023)




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2
                Case 24-11396-CMA                   Doc 1       Filed 06/04/24            Ent. 06/04/24 10:28:28                Pg. 49 of 70
Debtor 1            Bruce                   Warren                Solly
Debtor 2            Traci                   Lee                   Tanner                                         Case number (if known)
                    First Name              Middle Name           Last Name


    For the calendar year before that:
    (January 1 to December 31, 2022            )
                                     YYYY




 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ✔ No.
    ❑         Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ❑ No. Go to line 7.
              ✔ Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
              ❑
                           paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                           not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ❑ Yes.    Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑ No. Go to line 7.
              ❑ Yes.       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                           include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                           an attorney for this bankruptcy case.

                                                             Dates of           Total amount paid         Amount you still owe      Was this payment for…
                                                             payment

             BECU                                            May 20, 2024               $61,000.00                $43,451.00     ✔ Mortgage
                                                                                                                                 ❑
             Creditor's Name
                                                                                                                                 ❑ Car
                                                                                                                                 ❑ Credit card
             PO Box 97050
             Number      Street
                                                                                                                                 ❑ Loan repayment
             Seattle, WA 98124-9750
             City                   State      ZIP Code                                                                          ❑ Suppliers or vendors
                                                                                                                                 ❑ Other

             Kitsap Credit Union                             March                       $8,352.00               $426,408.00     ✔ Mortgage
                                                                                                                                 ❑
             Creditor's Name                                 through May,                                                        ❑ Car
                                                             2024
                                                                                                                                 ❑ Credit card
             PO Box 990
             Number      Street
                                                                                                                                 ❑ Loan repayment
             Bremerton, WA 98337-0230
             City                   State      ZIP Code                                                                          ❑ Suppliers or vendors
                                                                                                                                 ❑ Other


  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.


Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 3
                    Case 24-11396-CMA                     Doc 1      Filed 06/04/24           Ent. 06/04/24 10:28:28                Pg. 50 of 70
Debtor 1             Bruce                 Warren                 Solly
Debtor 2             Traci                 Lee                    Tanner                                          Case number (if known)
                     First Name            Middle Name            Last Name

                                                          Dates of            Total amount paid    Amount you still           Reason for this payment
                                                          payment                                  owe



    Insider's Name


    Number       Street




    City                          State   ZIP Code




  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                          Dates of            Total amount paid    Amount you still           Reason for this payment
                                                          payment                                  owe                        Include creditor’s name



    Insider's Name


    Number       Street




    City                          State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                     Nature of the case                      Court or agency                                  Status of the case


    Case title                                                                                                                              ❑ Pending
                                                                                            Court Name                                      ❑ On appeal
                                                                                                                                            ❑ Concluded
                                                                                            Number       Street
    Case number

                                                                                            City                      State      ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 4



                  Case 24-11396-CMA                      Doc 1       Filed 06/04/24           Ent. 06/04/24 10:28:28                    Pg. 51 of 70
Debtor 1            Bruce                  Warren                  Solly
Debtor 2            Traci                  Lee                     Tanner                                         Case number (if known)
                    First Name             Middle Name             Last Name



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.
                                                                    Describe the property                                Date               Value of the property



    Creditor’s Name



    Number     Street                                               Explain what happened

                                                                   ❑ Property was repossessed.
                                                                   ❑ Property was foreclosed.
                                                                   ❑ Property was garnished.
    City                           State    ZIP Code               ❑ Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                            Describe the action the creditor took                      Date action was     Amount
                                                                                                                       taken
    Creditor’s Name



    Number     Street



    City                          State    ZIP Code
                                                           Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ❑ No
    ✔ Yes. Fill in the details for each gift.
    ❑




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5

                 Case 24-11396-CMA                        Doc 1       Filed 06/04/24           Ent. 06/04/24 10:28:28               Pg. 52 of 70
Debtor 1             Bruce                   Warren                Solly
Debtor 2             Traci                   Lee                   Tanner                                         Case number (if known)
                     First Name              Middle Name           Last Name

     Gifts with a total value of more than $600            Describe the gifts                                         Dates you gave       Value
     per person                                                                                                       the gifts
                                                           Wedding expenses and gift, incl. payments
    Madelyn Solly-Tanner                                   made directly to vendors as well as to daughter 2/8/24 and                              $8,525.00
    Person to Whom You Gave the Gift                       directly; School Expenses                       4/5/24
                                                                                                                                                   $3,500.00
                                                                                                                      7/31/23


    PO Box 69
    Number     Street


    Albion, WA 99102-0069
    City                             State   ZIP Code

    Person’s relationship to you Daughter

     Gifts with a total value of more than $600            Describe the gifts                                         Dates you gave       Value
     per person                                                                                                       the gifts
                                                           Car repairs and dress for wedding
    Emily Solly-Tanner                                                                                                2/23/24 and                  $4,500.00
    Person to Whom You Gave the Gift                                                                                  2/26/24




    1630 NW Nassau Ct
    Number     Street


    Poulsbo, WA 98370-9408
    City                             State   ZIP Code

    Person’s relationship to you Daughter




  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities           Describe what you contributed                                 Date you              Value
     that total more than $600                                                                                   contributed



    Charity’s Name




    Number     Street



    City                     State    ZIP Code




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 6

                 Case 24-11396-CMA                         Doc 1      Filed 06/04/24           Ent. 06/04/24 10:28:28               Pg. 53 of 70
Debtor 1            Bruce                Warren                Solly
Debtor 2            Traci                Lee                   Tanner                                         Case number (if known)
                    First Name           Middle Name           Last Name
 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                         Date of your loss     Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                               Description and value of any property transferred             Date payment or       Amount of payment
    Scordato Law, PLLC                                                                                       transfer was made
    Person Who Was Paid                        Attorney’s Fee; Filing Fee
                                                                                                             5/7/2024                       $1,750.00
    PO Box 1962
    Number     Street                                                                                        5/7/2024                          $338.00


    Seattle, WA 98111-1962
    City                    State   ZIP Code
    www.scordatolaw.com
    Email or website address


    Person Who Made the Payment, if Not You



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Description and value of any property transferred             Date payment or       Amount of payment
                                                                                                             transfer was made
    Person Who Was Paid



    Number     Street




    City                    State   ZIP Code

Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 7


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Debtor 1            Bruce                Warren                Solly
Debtor 2            Traci                Lee                   Tanner                                         Case number (if known)
                    First Name           Middle Name           Last Name



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Description and value of property         Describe any property or payments            Date transfer was
                                                transferred                               received or debts paid in exchange           made
    BECU                                       Refinance of HELOC, involving the         New HELOC has more advantageous
    Person Who Received Transfer               reconveyance of old DOT and new           terms, resulting in lower, more               2/7/2024
                                               DOT recorded against the house            manageable monthly payment amount.
    PO Box 97050
    Number     Street


    Seattle, WA 98124-9750
    City                    State   ZIP Code


    Person's relationship to you



                                               Sale of land located at 54th &            Net Proceeds $207,728.02
    Mark and Cathy Kamrath Trust               Sheridan, Port Townsend, WA 98368                                                       4/21/23
    dated May 10, 2022
    Person Who Received Transfer

    725 Alaska St
    Number     Street


    Ashland, OR 97520
    City                    State   ZIP Code


    Person's relationship to you
    None

                                               $206,211.28 in multiple transactions      Proceeds of Port Townsend land sale that
    US Dept of Education                                                                 were used to pay off student loans            April 2023
    Person Who Received Transfer                                                         (Servicers: EdFinancial and Mohela)           through
    400 Maryland Ave SW Rm 6E353                                                                                                       August 2023
    Number     Street

    Office of General Counsel

    Washington, DC 20202-0001
    City                    State   ZIP Code


    Person's relationship to you




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 8


                Case 24-11396-CMA                      Doc 1      Filed 06/04/24           Ent. 06/04/24 10:28:28               Pg. 55 of 70
Debtor 1            Bruce                Warren                Solly
Debtor 2            Traci                Lee                   Tanner                                         Case number (if known)
                    First Name           Middle Name           Last Name

                                                Description and value of property         Describe any property or payments            Date transfer was
                                                transferred                               received or debts paid in exchange           made
                                               $61,000.00                                Payment to HELOC
    BECU                                                                                                                               5/20/24
    Person Who Received Transfer

    PO Box 97050
    Number     Street


    Seattle, WA 98124-9750
    City                    State   ZIP Code


    Person's relationship to you



                                               Withdrawal of cash value of life          $60,999.00 (used to pay BECU HELOC)
    Bruce Solly and Traci Tanner               insurance proceeds                                                                      5/13/24
    Person Who Received Transfer

    1630 NW Nassau Ct
    Number     Street


    Poulsbo, WA 98370-9408
    City                    State   ZIP Code


    Person's relationship to you
    Selves



  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Description and value of the property transferred                                       Date transfer was
                                                                                                                                       made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




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Debtor 1            Bruce                Warren                Solly
Debtor 2            Traci                Lee                   Tanner                                         Case number (if known)
                    First Name           Middle Name           Last Name

                                                Last 4 digits of account number          Type of account or     Date account was          Last balance
                                                                                         instrument             closed, sold, moved, or   before closing or
                                                                                                                transferred               transfer

    Name of Financial Institution
                                                XXXX–                                 ❑ Checking
                                                                                      ❑ Savings
    Number      Street
                                                                                      ❑ Money market
                                                                                      ❑ Brokerage
                                                                                      ❑ Other
    City                    State   ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                  Who else had access to it?                   Describe the contents                       Do you still have
                                                                                                                                           it?

                                                                                                                                          ❑ No
    Name of Financial Institution               Name
                                                                                                                                          ❑ Yes

    Number      Street                          Number     Street



                                                City                  State   ZIP Code

    City                    State   ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                  Who else has or had access to it?            Describe the contents                       Do you still have
                                                                                                                                           it?

                                                                                                                                          ❑ No
    Name of Storage Facility                    Name
                                                                                                                                          ❑ Yes

    Number      Street                          Number     Street



                                                City                  State   ZIP Code

    City                    State   ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 10


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Debtor 1            Bruce                Warren                Solly
Debtor 2            Traci                Lee                   Tanner                                               Case number (if known)
                    First Name           Middle Name           Last Name
 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                  Where is the property?                            Describe the property                    Value



    Owner's Name
                                                Number     Street



    Number     Street

                                                City                       State   ZIP Code



    City                    State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Governmental unit                             Environmental law, if you know it              Date of notice



    Name of site                               Governmental unit



    Number     Street                          Number     Street



                                               City                State     ZIP Code


    City                    State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.


Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 11



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Debtor 1            Bruce                 Warren                    Solly
Debtor 2            Traci                 Lee                       Tanner                                           Case number (if known)
                    First Name            Middle Name               Last Name

                                                   Governmental unit                        Environmental law, if you know it                     Date of notice



    Name of site                                  Governmental unit



    Number        Street                          Number       Street



                                                  City                  State   ZIP Code


    City                    State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                   Court or agency                          Nature of the case                                    Status of the case



    Case title                                                                                                                                    ❑ Pending
                                                                                                                                                  ❑ On appeal
                                                  Court Name


                                                                                                                                                  ❑ Concluded
                                                  Number       Street


    Case number
                                                  City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ✔ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑
           ❑ A partner in a partnership
           ✔ An officer, director, or managing executive of a corporation
           ❑
           ✔ An owner of at least 5% of the voting or equity securities of a corporation
           ❑
    ❑ No. None of the above applies. Go to Part 12.
    ✔ Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                    Describe the nature of the business                      Employer Identification number
    Mad About Gardening, LLC                                                                                 Do not include Social Security number or ITIN.
    Name
                                                                                                              EIN:    2    7 – 1   0   4      3   5   1   0


                                                    Name of accountant or bookkeeper                         Dates business existed
    26296 Twelve Trees Ln NW, Ste
    100                                            Cori Boyd (Accounting Manager)
    Number        Street                                                                                      From 2009             To 2024

    Poulsbo, WA 98370-9435
    City                    State   ZIP Code



Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 12
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Debtor 1            Bruce                Warren                  Solly
Debtor 2            Traci                Lee                     Tanner                                        Case number (if known)
                    First Name           Middle Name             Last Name

                                                  Describe the nature of the business                  Employer Identification number
     Marketing Resource Group, Inc.                                                                    Do not include Social Security number or ITIN.
    Name
                                                                                                        EIN:    2   0 – 5    5   3      5   8   5   3


                                                  Name of accountant or bookkeeper                     Dates business existed
     26296 Twelve Trees Ln NW, Ste
     100                                          Cori Boyd (Accounting Manager)
    Number     Street                                                                                   From 2006             To 2024

     Poulsbo, WA 98370-9435
    City                    State   ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.
                                                  Date issued



    Name                                        MM / DD / YYYY



    Number     Street




    City                    State   ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 13

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 Debtor 1           Bruce               Warren                Solly
 Debtor 2           Traci               Lee                   Tanner                                        Case number (if known)
                    First Name          Middle Name            Last Name




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ Bruce Warren Solly                                       ✘ /s/ Traci Lee Tanner
        Signature of Bruce Warren Solly, Debtor 1                      Signature of Traci Lee Tanner, Debtor 2


        Date 06/04/2024                                                Date 06/04/2024




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑ Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                  Attach the Bankruptcy Petition Preparer’s Notice,
    ❑ Yes. Name of person                                                                         Declaration, and Signature (Official Form 119).




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 14

                Case 24-11396-CMA                   Doc 1      Filed 06/04/24           Ent. 06/04/24 10:28:28               Pg. 61 of 70
 Fill in this information to identify your case:

  Debtor 1                  Bruce                  Warren            Solly
                           First Name              Middle Name      Last Name

  Debtor 2                  Traci                  Lee               Tanner
  (Spouse, if filing)      First Name              Middle Name      Last Name

  United States Bankruptcy Court for the:                   Western District of Washington

  Case number                                                                                                                    ❑ Check if this is an
  (if known)                                                                                                                          amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                               12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier,
unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the
form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name
and case number (if known).


 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
     Identify the creditor and the property that is collateral           What do you intend to do with the property that secures Did you claim the property as
                                                                         a debt?                                                 exempt on Schedule C?

    Creditor’s                                                           ❑ Surrender the property.                                 ❑ No
    name:               Kitsap Credit Union
                                                                         ❑ Retain the property and redeem it.                      ✔ Yes
                                                                                                                                   ❑
    Description of
    property
                        1630 NW Nassau Ct Poulsbo, WA
                        98370-9408                                       ❑ Retain the property and enter into a
    securing debt:                                                              Reaffirmation Agreement.
                                                                         ✔ Retain the property and [explain]:
                                                                         ❑

    Creditor’s                                                           ❑ Surrender the property.                                 ❑ No
    name:               BECU
                                                                         ❑ Retain the property and redeem it.                      ✔ Yes
                                                                                                                                   ❑
    Description of
    property
                        1630 NW Nassau Ct Poulsbo, WA
                        98370-9408                                       ❑ Retain the property and enter into a
    securing debt:                                                              Reaffirmation Agreement.
                                                                         ✔ Retain the property and [explain]:
                                                                         ❑




Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                                         page 1

                    Case 24-11396-CMA                    Doc 1      Filed 06/04/24            Ent. 06/04/24 10:28:28             Pg. 62 of 70
 Debtor 1            Bruce             Warren               Solly
 Debtor 2            Traci             Lee                  Tanner                                         Case number (if known)
                     First Name        Middle Name           Last Name




         Additional Page for Part 1

    Creditor’s                                                    ❑ Surrender the property.                                   ❑ No
    name:              JPMorgan Chase Bank, N.A.
                                                                  ❑ Retain the property and redeem it.                        ✔ Yes
                                                                                                                              ❑
    Description of
    property
                       2018 Chevrolet Colorado Pick Up
                       Truck                                      ❑ Retain the property and enter into a
    securing debt:                                                       Reaffirmation Agreement.
                                                                  ✔ Retain the property and [explain]:
                                                                  ❑




Official Form 108                               Statement of Intention for Individuals Filing Under Chapter 7                              page 2

                 Case 24-11396-CMA               Doc 1       Filed 06/04/24            Ent. 06/04/24 10:28:28               Pg. 63 of 70
 Debtor 1            Bruce              Warren                 Solly
 Debtor 2            Traci              Lee                    Tanner                                       Case number (if known)
                     First Name         Middle Name            Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the
 information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an
 unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                         Will the lease be assumed?
    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
   property that is subject to an unexpired lease.



  ✘ /s/ Bruce Warren Solly                                   ✘ /s/ Traci Lee Tanner
      Signature of Debtor 1                                      Signature of Debtor 2


      Date 06/04/2024                                            Date 06/04/2024
            MM/ DD/ YYYY                                                MM/ DD/ YYYY



Official Form 108                                 Statement of Intention for Individuals Filing Under Chapter 7                                          page 3

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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                             Western District of Washington

In re        Solly, Bruce Warren

             Tanner, Traci Lee                                                                                             Case No.

Debtor                                                                                                                     Chapter                       7


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        ✔ FLAT FEE
        ❑
        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $1,750.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $1,750.00

        Balance Due ................................................................................................................................................            $0.00


        ❑ RETAINER
        For legal services, I have agreed to accept and received a retainer of ............................................................................................................................

        The undersigned shall bill against the retainer at an hourly rate of ..................................................................................................................................
        [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved fees and
        expenses exceeding the amount of the retainer.

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;




                                                                                                  Page 1 of 2




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B2030 (Form 2030) (12/15)


      c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following services:

      The “no look” fee does not include the following services:
      i. Responding to any motions regardless of the filing party, including, but not limited to, the following: Motion for Relief from Stay, Motion
      to Abandon Property, and Motion for Redemption of Property
      ii. Adversary Proceedings of any kind
      iii. Responding to and/or Representation at Bankruptcy Rule 2004 Examinations
      iv. Amendments to Bankruptcy Schedules or Statements after filing
      v. Preparation and/or Review of Reaffirmation Agreements
      vi. Services Related to Recovery of Garnished Funds and/or Motions or Adversary Proceedings for Turnover of Estate Property
      vii. Judgment Lien Avoidance or Lien Stripping
      viii. Reopening of the Bankruptcy Case for any reason, including for entry of discharge
      ix. Adding additional creditors to a filed bankruptcy case
      x. Any other miscellaneous motion or adversary matter not described above.


                                                                 CERTIFICATION

                         I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                 me for representation of the debtor(s) in this bankruptcy proceeding.

                          06/04/2024                                               /s/ Kathryn P. Scordato
                 Date                                            Kathryn P. Scordato
                                                                 Signature of Attorney
                                                                                                     Bar Number: 41922
                                                                                                    Scordato Law, PLLC
                                                                                                           PO Box 1962
                                                                                                 Seattle, WA 98111-1962
                                                                                                  Phone: (206) 223-9595

                                                                                   Scordato Law, PLLC
                                                                Name of law firm




                                                                     Page 2 of 2




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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                    WESTERN DISTRICT OF WASHINGTON
                                                            SEATTLE DIVISION

IN RE: Solly, Bruce Warren                                                            CASE NO
       Tanner, Traci Lee
                                                                                      CHAPTER 7




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date     06/04/2024             Signature                             /s/ Bruce Warren Solly
                                                                        Bruce Warren Solly, Debtor


Date     06/04/2024             Signature                               /s/ Traci Lee Tanner
                                                                      Traci Lee Tanner, Joint Debtor




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                            Alien Finance, LLC
                            5830 E 2nd St Ste 7000 Pmb 5788
                            Casper, WY 82609-4308




                            Amazon Capital Services, Inc.
                            410 Terry Ave N
                            Seattle, WA 98109




                            BECU
                            PO Box 97050
                            Seattle, WA 98124-9750




                            Bluevine
                            401 Warren St Ste 300
                            Redwood City, CA 94063-1536




                            CIT/Direct Capital
                            155 Commerce Way
                            Portsmouth, NH 03801-3243




                            CT Corporation System
                            Attn: SPRS
                            330 N Brand Blvd Ste 700
                            Glendale, CA 91203-2336



                            First Federal Savings & Loan
                            PO Box 351
                            Port Angeles, WA 98362-0055




                            Goldman Sachs
                            PO Box 46400
                            Salt Lake City, UT 84145




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                            JPMorgan Chase Bank, N.A.
                            Legal Papers Served
                            700 Kansas Ln Mail Code LA4-7100
                            Monroe, LA 71203-4774



                            Kitsap Credit Union
                            PO Box 990
                            Bremerton, WA 98337-0230




                            Lightstream
                            PO Box 117320
                            Atlanta, GA 30368-7320




                            Mad About Gardening, LLC
                            26296 Twelve Trees Ln NW, Ste 100
                            Poulsbo, WA 98370-9435




                            Marketing Resource Group,
                            Inc.
                            26296 Twelve Trees Ln NW, Ste 100
                            Poulsbo, WA 98370-9435



                            Member First Mortgage, LLC
                            616 44th St SE
                            Grand Rapids, MI 49548-7576




                            OnDeck
                            Attn: Director of Operations
                            4700 W Daybreak Pkwy Ste 200
                            South Jordan, UT 84009-5133



                            Onramp
                            1705 S Capital of Texas Hwy
                            Austin, TX 78746-6578




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                            Paypal, Inc.
                            Attn: Legal Specialists
                            PO Box 45950
                            Omaha, NE 68145-0950



                            US Attorney's Office
                            Attn: Civil Process Clerk
                            700 Stewart St Room 5220
                            Seattle, WA 98101



                            US Small Business
                            Administration
                            CESC - COVID EIDL Service Center
                            14925 Kingsport Rd
                            Fort Worth, TX 76155-2243


                            US Small Business
                            Administration
                            409 3rd St SW
                            Washington, DC 20416



                            US Small Business
                            Administration
                            2401 4th Ave Ste 400
                            Seattle, WA 98121



                            US Small Business
                            Administration
                            10737 Gateway Blvd W Ste 300
                            El Paso, TX 79935-4910



                            Virginia Mason Medical Center
                            Attn: Patient Account Services
                            PO Box 24163
                            Seattle, WA 98124-0163




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